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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

KEITH DINGMAN, et al.,
                           Plaintiffs,                        ORDER

                     -against-                                20-CV-04519 (PMH)
C.R. BARD, INC., et al.,
                           Defendants.


PHILIP M. HALPERN, United States District Judge:

         The Court has been informed that the parties have reached a settlement in principle in this

case. (Doc. 22). Accordingly, it is hereby ORDERED that this action is dismissed without costs

and without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within ninety (90) days of this Order. Any application to reopen filed

after ninety (90) days from the date of this Order may be denied solely on that basis. Any pending

motions are DISMISSED as moot, and all conferences are CANCELLED.

         The Clerk of the Court is respectfully directed to terminate the motion sequence pending

at Doc. 22.



Dated:     New York, New York
           January 8, 2021

                                                 PHILIP M. HALPERN
                                                 United States District Judge
